                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION




  In the Matter of:                              }
                                                 }
                                                 }
  Jeremy Andrew Bray                             }   Case No. 18-82940-CRJ-12
                                                 }
                                                 }   Chapter 12
                                 Debtor(s)       }
                                                 }
                                                 }
                                                 }

                         ORDER APPOINTING CASE TRUSTEE AND
                                  APPROVING BOND

 It is ORDERED and notice is hereby given that:

    1. The following case trustee is hereby appointed, and the trustee’s bond is fixed under the
       general blanket bond heretofore approved.

                                       Michele T. Hatcher
                                         P.O. Box 2388
                                       Decatur, AL 35602

    2. Unless the case trustee files a rejection of this appointment within seven (7) days
       following receipt of this order, the trustee will be deemed to have accepted this
       appointment as provided by Rule 2008.

 Dated this the 3rd day of October, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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